                 Case 24-10474-amc                      Doc 17          Filed 02/22/24 Entered 02/22/24 15:38:52      Desc Main
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                                               IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                  IN RE: Jennifer A. Jarratt aka Jennifer Ann                                 CHAPTER 13
                  Jarratt aka Jennifer Jarratt
                                                 Debtor(s)                                    BKY. NO. 24-10474 AMC


                                          ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                            Kindly enter my appearance on behalf of Deutsche Bank National Trust Company as
                    Trustee for HarborView Mortgage Loan Trust Mortgage Loan Pass-Through Certificates,
                    Series 2007-2 and index same on the master mailing list.


                                                                                          Respectfully submitted,


                                                                                 /s/${s:1:y:_________________________}
                                                                                   Mark Cronin
                                                                                   22 Feb 2024, 10:13:41, EST



                                                                                      KML Law Group, P.C.
                                                                                      701 Market Street, Suite 5000
                                                                                      Philadelphia, PA 19106-1532
                                                                                      (215) 627-1322




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